    Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 1 of 11 PageID #:1

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                                                                          JUL   1   2   201t
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION                         ..Eh'8Ut:r8fi[?180h,


UNITED STATES OF AMERICA                              No.

                                                      L7 CR 4?O
                                                      Violations: Title 18, United States
                                                      Code, Section 1951, and Title 29,
                                                      United States Code, Section 186
JOHN T. COLI, SR.
                                                                      JUfrGE PAT8"M4frYfiffi

                                     COUNT ONE                    MAGISTRATE .'I.'DGE VALDEZ

      THE SPECIAL FEBRUARY            2016   GRAND JURY charges:

      1.      At times material to this indictment:

                     The International Brotherhood of Teamsters was             a       "labor

organization" within the meaning of Title 29, United States Code, Sections 142(3),152(5),

402(i) and 402Q) that represented, sought to represent, and would admit to membership

workers engaged in industries affecting interstate commerce, and issued charters to local

unions affrliated with the International Brotherhood of Teamsters.

              b.     Teamsters Local Union 727,with offices in Park Ridge, Illinois, was

issued a charter by the International Brotherhood of Teamsters, and was a "labor

organization" within the meaning of Title 29, United States Code, Sections L42(3),152(5),

402(i) and 402Q). Teamsters Local Union 727 represented, sought to represent, and

would admit    to   membership workers engaged         in industries affecting interstate
commerce, including individuals who were employed at companies located in the greater

Chicago   area. The Constitution and By-Laws of Teamsters Local Union 727 rcquired
      Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 2 of 11 PageID #:2




all officers to take an oath to, among other things, "act solely in the interests of our

members," and to "work to maintain a Union that is free of corruption."

               c.    Teamsters Joint Council25, with offices in Park Ridge, Illinois, was

a   joint council affiliated with the International Brotherhood of Teamsters and was a

"labor organization" within the meaning of Title 29, United States Code, Sections 142(3),

152(5),402(i) and 402Q).   It   represented and sought to represent workers employed in

industries affecting interstate commerce including more than approximately 100,000

International Brotherhood of Teamsters members in the Chicago area and northwest

Indiana region, and had approximately 26local union affiliates, including but not limited

to Teamsters Local Union727.

               d.    Defendant JOHN T. COLI, SR. was an officer of the following labor

organizations: (i) an International Vice President-Central Region of the International

Brotherhood of Teamsters from no later than in or around 2006 to in or around March

2017; (ii) the Secretary-Treasurer of Teamsters Local Union 727 from no     later than in or

around 2000 to on or about the date of this indictment; and (iii) the President of Teamsters

Joint Council 25 from no later than in or around 2002 to on or about the date of this

indictment. JOHN T. COLI, SR. was an employee of the International Brotherhood of

Teamsters from no later than in or around 2006 to at least in or around March 2017 and

an employee of Teamsters Local Union 727 from no later than in or around 2000 to on or

about the date of this indictment.
    Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 3 of 11 PageID #:3




             e.     Company 1 operated in the State of Illinois, conducted business with,

and purchased goods from other companies located outside the State of Illinois and was

thereby engaged in interstate commerce and an industry affecting interstate commerce.

Company 2,   a company afflliated with Company 1, employed workers employed in          an

industry affecting commerce, and provided services neeessary to the operation of

Company 1 on the premises occupied by Company L.

                    The International Brotherhood of Teamsters and Teamsters Local

Union 727 represented and would admit to membership employees of Company 2.

             g.     As ar officer and employee of the Internatiohal Brotherhood of

Teamsters and Teamsters Local Union 727, labor organizations that represented and

would admit to membership employees of Company 2, COLI was prohibited under Title

29, United States Code, Section 186, from   willfully requesting, demanding, receiving or

accepting a thing of value or sum of money from a person acting in the interest of

Company 2.

      2.     Beginning no later than in or around October 2)l6,and continuing until on

or about April 4,   2017,   in the Northern District of Illinois, Eastern Division, and
elsewhere,

                                   JOHN T. COLI, SR.,

defendant herein, did knowingly attempt     to obstruct, delay and affect    commerce by

extortion, as "extortion" and "commerce"    af,e   defined in Title 18, United States Code,

Section 1951(b), that is, the obtaining of property consisting of quarterly cash payments
   Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 4 of 11 PageID #:4




of $25,000 in United States cwrency from Comp any    l, with the consent of Company   1,   its

officers and agents to be induced by the wrongful use of fear of economic loss from

threatened work stoppages and other labor unrest unless such cash payments were made;

      In violation of Title 18, United States Code, Section 1951(a).
   Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 5 of 11 PageID #:5




                                           COUNT TWO

      The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

       1.    Paragraph     1   of Count One of this indictment is incorporated here.

      2.     On or about July 7, 2016, in the Northern District of lllinois, Eastern

Division, and elsewhere,

                                        JOHN T. COLI, SR.,

defendant herein, being an officer and employee of the International Brotherhood of

Teamsters and Teamsters Local Union 727,labor organizations which represented and

would admit to membership employees of Company 2, did willfully request, demand,

receive and accept a thing of value and a sum of money, namely, approximately $25,000

in United States currency,     a   payment prohibited by Title 29, United States Code, Section

186(a), from Company 1 and         Individual   1,   persons acting in the interest of Company 2, an

employer of employees employed in an industry affecting commerce;

      In violation of Title 29, United States Code, Sections 186(b)(1) and 186(dX2).
   Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 6 of 11 PageID #:6




                                       COUNT THREE

      The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

       1.    Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about October 4,2016, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                      JOHN T. COLI, SR.,

defendant herein, being an officer and employee of the International Brotherhood of

Teamsters and Teamsters Local Union 727,labor organizations which represented and

would admit to membership employees of Company 2, did willfully request, demand,

receive and accept a thing of value and a sum of money, namely, approximately $15,000

in United States currency,   a   payment prohibited by Title 29, United States Code, Section

186(a), from Company 1 and       Individual   1,   persons acting in the interest of Compan y 2, an

employer of employees employed in an industry affecting commerce;

      In violation of Title 29, United States Code, Sections 186(bX1) and 186(d)(2).
   Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 7 of 11 PageID #:7




                                        COUNT FOUR

       The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

       1.    Paragraph 1 of Count One of this indictment is incorporated here.

      2.     On or about November 29,2016,in the             Northern District of Illinois, Eastern

Division, and elsewhere,

                                      JOHN T. COLI, SR.,

defendant herein, being an officer and employee of the International Brotherhood of

Teamsters and Teamsters Local Union 727,labor organizations which represented and

would admit to membership employees of Company 2, did willfully request, demand,

receive and accept a thing of value and a sum of money, namely, approximately $10,000

in United States currency,   a   payment prohibited by Title 29, United States Code, Section

186(a), from Company 1 and       Individual   1,   persons acting in the interest of Company 2, an

employer of employees employed in an industry affecting commerce;

      In violation of Title 29, United States Code, Sections 186(bX1) and 186(d)(2).
    Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 8 of 11 PageID #:8




                                         COUNT FIVE

          The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

          1.    Paragraph   1   of Count One of this indictment is incorporated here.

          2.     On or about December 22,2016,in the          Northern District of Illinois, Eastern

Division, and elsewhere,

                                       JOHN T. COLI, SR.,

defendant herein, being an officer and employee of the International Brotherhood of

Teamsters and Teamsters Local Union 727,labor organizations which represented and

would admit to membership employees of Company 2, did willfully request, demand,

receive and accept a thing of value and a sum of money, namely, approximately $25,000

in United States currency, a payment prohibited by Title 29, United States Code, Section

186(a),   from Company    1 and   Individual   1,   persons acting in the interest of Company 2, an

employer of employees employed in an industry affecting commerce

          In violation of Title 29, United States Code, Sections 186(bX1) and 186(d)(2).




                                                      8
      Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 9 of 11 PageID #:9




                                        COUNT SIX

         The SPECIAL FEBRUARY 2016 GRAND JURY further charges:

         1.    Paragraph 1 of Count One of this indictment is incorporated here.

         2.     On or about April 4,   20,77,   in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                    JOHN T. COLI, SR.,

defendant herein, being an officer and employee of Teamsters Local Union 727, a labor

organization which represented and would admit to membership employees of Company

2, did willfully request, demand, receive and accept a thing of value and a sum of money,

namely, approximately $25,000 in United States culTency, a payment prohibited by Title

29,   United States Code, Section 186(a), from Company      l   and Individual 1, persons acting

in the interest of Company 2, an employer of employees employed in an industry affecting

commerce;

         In violation of Title 29, United States Code, Sections 186(b)(1) and 186(d)(2).
     Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 10 of 11 PageID #:10




                                 FORFEITURE ALLEGATION

         The SPECIAL FEBRUARY 2016 GRAND JURY alleges:

         1.         Upon conviction of an offense in violation of Title 18, United States Code,

Section 1951, and Title 29, United States Code, Section 186, as set forth in Counts One

through Six of this indictment, defendant shall forfeit to the United States of America

any property which constitutes and is derived from proceeds traceable to the offense, as

provided in Title 18, United States Code, Section 981(aX1XC), and Title 28, United States

Code, Section 2461(c).

         2.        The property to be forfeited includes, but is not limited to, a personal money

judgment in the amount of at least approximately $100,000.

         3.         If any of the property described       above, as a result of any act or omission by

the defendant: cannot be located upon the exercise of due diligence; has been transferred

or sold to, or deposited with,     a   third party;   has been placed beyond the    jurisdiction of the

Court; has been substantially diminished in value; or has been commingled with other

property which cannot be divided without dfficulty, the United States of Arnerica shall

be entitled to forfeiture of substitute property, including, but not limited to, the following

property,     as   provided in Title 21, United States Code, Section 853(p): The real property

commonly known as 1226 West George Street, Chicago, Illinois 60657,legally described

as   follows:

                    LOT 89, IN THE SUBDIVISION OF BLOCK 8 IN THE
                    SUBDIVISION OF THAT PART LYING
                    NORTHEASTERLY OF THE CENTER LINE OF
                    LINCOLN AVENUE OF THE NORTHWEST 1/+ OF

                                                      10
 Case: 1:17-cr-00470 Document #: 1 Filed: 07/12/17 Page 11 of 11 PageID #:11




          SECTION 29, TOWNSHIP 40 NORTH, RANGE 14, EAST
          OF THE THIRD PRINCIPAL MERIDIAN,                IN COOK
          COUNTY,ILLINOIS

          PIN   14-29 -123-027 -0000

                                            A TRUE BILL




                                            FOREPERSON




ACTING UNITED STATES ATTORNEY




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